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                  FOR Tiffi EASTERN DISTRICT OF ARKAN~~~~d-'~~:;;..,__.
                              WESTERN DIVISION




UNITED STATES OF AMERICA

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BEFORE U. S. MAGISTRATE JUDGE J. THOMAS RA'f/
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ECRO/CRD: Kathy Swanson
